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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH



 FEDERAL TRADE COMMISSION,
                                                           STIPULATED ORDER FOR
        Plaintiff,                                      PERMANENT INJUNCTION AND
                                                         MONETARY JUDGMENT AS TO
 v.                                                    DEFENDANTS ELITE IT PARTNERS,
                                                          INC., AND JAMES MICHAEL
 ELITE IT PARTNERS, INC., a Utah                                  MARTINOS
 corporation doing business as ELITE IT
 HOME, and JAMES MICHAEL                                       2:19-cv-125-RJS-CMR
 MARTINOS, individually and as an officer of
 ELITE IT PARTNERS, INC.,                               Chief District Judge Robert J. Shelby

        Defendants.                                      Magistrate Judge Cecilia M. Romero


       Plaintiff, the Federal Trade Commission (FTC or Commission), filed its Complaint for

Permanent Injunction and Other Equitable Relief (Complaint) pursuant to Sections 13(b) and 19

of the Federal Trade Commission Act (FTC Act), 15 U.S.C. §§ 53(b) and 57b. The

Commission and Defendants Elite IT Partners, Inc., through the Receiver, Thomas Barton, and

James Michael Martinos stipulate to the entry of this Stipulated Order for Permanent Injunction

and Monetary Judgment (Order) to resolve all matters in dispute in this action between them.

       THEREFORE, IT IS ORDERED as follows:

                                           FINDINGS

1.     This Court has jurisdiction over this matter.

2.     The Complaint charges that Defendants participated in deceptive acts or practices in

violation of Section 5 of the FTC Act, 15 U.S.C. § 45, the FTC’s Telemarketing Sales Rule

(TSR), 16 C.F.R. Part 310, as amended, and Section 5 of the Restore Online Shopper’s

Confidence Act (ROSCA), 15 U.S.C. §§ 8401-8405, in the marketing and sale of computer

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security or computer-related technical support services.

3.       Defendants neither admit nor deny any of the allegations in the Complaint, except as

specifically stated in this Order. Only for purposes of this action, Defendants admit the facts

necessary to establish jurisdiction.

4.       Defendants waive any claim that they may have under the Equal Access to Justice Act,

28 U.S.C. § 2412, concerning the prosecution of this action through the date of this Order and

agree to bear their own costs and attorney fees.

5.       Defendants waive all rights to appeal or otherwise challenge or contest the validity of this

Order.

                                          DEFINITIONS

         For the purpose of this Order, the following definitions apply:

A.       “Defendants” means the Individual Defendant and the Corporate Defendant,

individually, collectively, or in any combination.

         1.     “Corporate Defendant” means Elite IT Partners, Inc., and its successors and

                assigns.

         2.     “Individual Defendant” means James Michael Martinos.

B.       “Negative Option Feature” means, in an offer or agreement to sell or provide any good

or service, a provision under which the consumer’s silence or failure to take affirmative action to

reject a good or service or to cancel the agreement is interpreted by the seller or provider as

acceptance or continuing acceptance of the offer.

C.       “Receivership Defendant” means “Corporate Defendant” as defined above.

D.       “Technical Support Products or Services” and “Technical Support Product or

Service” means any product, service, plan, program, software, or hardware marketed to clean,

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repair, or maintain a computer or improve its performance or security, including antivirus

programs, registry cleaners, and computer or software diagnostic, maintenance, cleaning, or

repair services.

E.     “Telemarketing” means any plan, program, or campaign which is conducted to induce

the purchase of goods or services by use of one or more telephones, and which involves a

telephone call, whether or not covered by the Telemarketing Sales Rule.

                                          ORDER

           I.         BAN ON TECHNICAL SUPPORT PRODUCTS OR SERVICES

       IT IS ORDERED that Defendants are permanently restrained and enjoined from:

A.     advertising, marketing, promoting, or offering for sale any Technical Support Product or

Service to consumers;

B.     assisting, including providing consulting services, others engaged in or receiving any

proceeds from advertising, marketing, promoting, or offering for sale any Technical Support

Product or Service to consumers; or

C.     owning, controlling, or serving as an officer, director, or manager of any business entity

advertising, marketing, promoting, or offering for sale any Technical Support Product or Service

to consumers.

       Provided, however, that “consumers” shall not include corporations, limited liability

companies, limited liability partnerships, limited liability limited partnerships, or subchapter S

corporations.

                II.     BAN RELATING TO NEGATIVE OPTION FEATURES

       IT IS FURTHER ORDERED that Defendants, whether acting directly or through an

intermediary, are permanently restrained and enjoined from promoting or offering for sale or

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assisting (including providing consulting services) others in the promoting or offering for sale of

any good or service with a Negative Option Feature, except that this provision shall not apply to

entities that are not consumers (as defined in Section I) with which Defendants have negotiated

contracts.

               III.     PROHIBITION AGAINST MISREPRESENTATIONS

       IT IS FURTHER ORDERED that Defendants, their officers, agents, employees, and

attorneys, and all other persons in active concert or participation with any of them, who receive

actual notice of this Order, whether acting directly or indirectly, in connection with promoting or

offering for sale any good or service are permanently restrained and enjoined from

misrepresenting or assisting others in misrepresenting, expressly or by implication:

A.     that Defendants have detected viruses or infections on any person’s or entity’s computer

that affect the security of such computer and prevent access to email or other accounts;

B.     that Defendants are part of, affiliated with, or certified or authorized by any entity; and

C.     any other fact material to consumers concerning any good or service, such as: the total

costs; any material restrictions, limitations, or conditions; or any material aspect of its

performance, efficacy, nature, or central characteristics.

                IV.     PROHIBITION CONCERNING TELEMARKETING

       IT IS FURTHER ORDERED that Defendants and Defendants’ officers, agents,

employees, and attorneys, and all other persons in active concert or participation with any of

them, who receive actual notice of this Order, whether acting directly or indirectly, in connection

with the advertising, marketing, promoting, or offering for sale of any good or service are hereby

permanently restrained and enjoined from:

A.     using any false or misleading statement to induce any person to pay for goods or services;

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B.     failing to disclose truthfully, and in a clear and conspicuous manner, before accepting

payment from a customer, the following material information:

       i.      the total costs to purchase, receive, or use, and the quantity of, any goods or

       services that are the subject of the sales offer;

       ii.     all material restrictions, limitations, or conditions to purchase, receive, or use the

       goods or services that are the subject of the sales offer; and

       iii.    if the seller has a policy of not making refunds, cancellations, exchanges, or

       repurchases, a statement informing the customer that this is the seller’s policy; or if the

       seller or telemarketer makes a representation about a refund, cancellation, exchange, or

       repurchase policy, a statement of all materials terms and conditions of such policy; and

C.     violating the TSR, 16 C.F.R. Part 310, attached as Attachment A.

       V.     PROHIBITIONS CONCERNING REFUNDS AND CANCELLATIONS

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, and

employees, and all other persons in active concert or participation with any of them, who receive

actual notice of this Order, whether acting directly or indirectly, in connection with the

advertising, marketing, promotion, offering for sale, sale, or distribution of any good or service,

are permanently restrained and enjoined from:

A.     misrepresenting, expressly or by implication, any material term of any refund, return,

or cancellation policy or practice; and

B.     failing to honor a refund, return, or cancellation request that complies with any policy

to make refunds or allow returns or cancellations.




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             VI.     MONETARY JUDGMENT AND PARTIAL SUSPENSION

       IT IS FURTHER ORDERED that:

A.     Judgment in the amount of thirteen million five hundred thirty-seven thousand two

hundred eighty-eight dollars and seventy-five cents ($13,537,288.75) is entered in favor of the

Commission against the Individual Defendant and Corporate Defendant, jointly and severally, as

equitable monetary relief.

B.     Immediately after entry of this Order, the Individual Defendant is ordered to pay to the

Commission one hundred seventy-three thousand five hundred dollars ($173,500), held by Think

Mutual in the account ending in 7384. This obligation is satisfied when Think Mutual transfers

the $173,500 to the Commission in accordance with Section VI.D.

C.     In the event that the Individual Defendant fails to make the required payment when due

under Subsection B, above, or the Commission is not allowed to retain any such payment, the

entire judgment becomes immediately due in the amount specified in Subsection A, above, less

any partial payment previously made pursuant to this Section, plus interest computed from the

date of entry of this Order.

D.     Think Mutual Bank is ordered to pay the Commission within seven (7) days of this Order

all sums held in accounts in the name of Individual Defendant, individually or jointly with

others, including amounts held in accounts ending in 7384 and 0000.

E.     Wells Fargo Bank is ordered, within seven (7) days of this Order, to liquidate the

brokerage account in the name of Individual Defendant ending in 6339, and thereafter to

immediately pay the Commission all proceeds from such liquidation.

F.     Vanguard Group, Inc. is ordered, within seven (7) days of this Order, to liquidate the IRA

in the name of Individual Defendant ending in 6473, and thereafter to immediately pay the

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Commission all proceeds from such liquidation.

G.       All payments to the Commission under the foregoing subsections shall be made by

electronic fund transfer in accordance with the instructions provided by a representative of the

Commission.

H.       Upon payment, the remainder of the judgment is suspended, subject to the Subsections

below.

I.       The Commission’s agreement to the suspension of part of the judgment is expressly

premised upon the truthfulness, accuracy, and completeness of Defendants’ sworn financial

statements and related documents (collectively, “financial representations”) submitted to the

Commission, namely:

         1.     the Financial Statement of Individual Defendant James Michael Martinos signed

         on March 6, 2019, and amended on August 8, 2019, including the attachments;

         2.     the Financial Statement of Corporate Defendant Elite IT Partners, Inc., signed by

         James Michael Martinos on March 6, 2019, including the attachments;

         3.     the sworn declaration of Individual Defendant James Michael Martinos signed on

         August 19, 2019.

J.       The suspension of the judgment will be lifted as to any Defendant if, upon motion by the

Commission, the Court finds that Defendant failed to disclose any material asset, materially

misstated the value of any asset, or made any other material misstatement or omission in the

financial representations identified above.

K.       If the suspension of the judgment is lifted, the judgment becomes immediately due as to

that Defendant in the amount specified in Subsection A above (which the parties stipulate only

for purposes of this Section represents the consumer injury alleged in the Complaint (Dkt. 1)),

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less any payment previously made pursuant to this Section, plus interest computed from the date

of entry of this Order.

                    VII.     ADDITIONAL MONETARY PROVISIONS

       IT IS FURTHER ORDERED that:

A.     Defendants relinquish dominion and all legal and equitable right, title, and interest in all

assets transferred pursuant to this Order and may not seek the return of any assets.

B.     The facts alleged in the Complaint will be taken as true, without further proof, in any

subsequent civil litigation by or on behalf of the Commission, including in a proceeding to

enforce its rights to any payment or monetary judgment pursuant to this Order, such as a

nondischargeability complaint in any bankruptcy case.

C.     The facts alleged in the Complaint establish all elements necessary to sustain an action

by the Commission pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C.

§ 523(a)(2)(A), and this Order will have collateral estoppel effect for such purposes.

D.     Defendants acknowledge that their Taxpayer Identification Numbers (Social Security

Numbers or Employer Identification Numbers) may be used for collecting and reporting on any

delinquent amount arising out of this Order, in accordance with 31 U.S.C. § 7701.

 E.    All money paid to the Commission pursuant to this Order may be deposited into a fund

administered by the Commission or its designee to be used for equitable relief, including

consumer redress and any attendant expenses for the administration of any redress fund. If a

representative of the Commission decides that direct redress to consumers is wholly or partially

impracticable or money remains after redress is completed, the Commission may apply any

remaining money for such other equitable relief (including consumer information remedies) as it

determines to be reasonably related to Defendants’ practices alleged in the Complaint. Any

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money not used for such equitable relief is to be deposited to the U.S. Treasury as disgorgement.

Defendants have no right to challenge any actions the Commission or its representatives may

take pursuant to this Subsection.

                          VIII.     CUSTOMER INFORMATION

       IT IS FURTHER ORDERED that Defendants, their officers, agents, employees, and all

other persons in active concert or participation with any of them, who receive actual notice of

this Order, are permanently restrained and enjoined from directly or indirectly:

A.     failing to provide sufficient customer information to enable the Commission to efficiently

administer consumer redress. If a representative of the Commission requests in writing any

information related to redress, Defendants must provide it, in the form prescribed by the

Commission, within 14 days.

B.     disclosing, using, or benefitting from customer information, including the name, address,

telephone number, email address, social security number, other identifying information, or any

data that enables access to a customer’s account (including a credit card, bank account, or other

financial account), that any Defendant obtained prior to entry of this Order in connection with

the sale of Tech Support Products and Services to consumers related to the sale of services under

the name “Elite IT Home”; and

C.     failing to destroy such customer information in all forms in their possession, custody, or

control within 30 days after receipt of written direction to do so from a representative of the

Commission.

       Provided, however, that customer information need not be disposed of, and may be

disclosed, to the extent requested by a government agency or required by law, regulation, or

court order.

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                             IX.     LIFTING OF ASSET FREEZE

         IT IS FURTHER ORDERED that the freeze of Defendants’ assets remains in effect, but

will be lifted for the sole purpose of transferring funds and assets to the Commission pursuant to

Sections VI and X herein, and will be dissolved only upon completion of all such transfers.

                                      X.     RECEIVERSHIP

         IT IS FURTHER ORDERED that:

A.       Except as modified by this Section, the Receivership imposed by the court will continue

as set forth in the Stipulated Preliminary Injunction Order as to Elite IT Partners, Inc. and James

Michael Martinos entered on May 6, 2019 (Dkt. 104).

B.       The Receiver must take all steps necessary to immediately wind down the affairs and

liquidate the assets of the Receivership Defendant. Provided, however, notwithstanding any

limitations in Sections I.B, II, and VIII.B, the Receiver, in his discretion, may assist in

transitioning customers of Corporate Defendant to current providers of antivirus software and

backup services. Provided further, however, that notwithstanding any limitations in Section

V.B, the Receiver is not responsible for providing refunds to consumers of Corporate Defendant.

C.       Upon approval of the Receiver’s final report and request for payment, but no later than

one hundred twenty (120) days after entry of this Order, the Receivership will be terminated, and

all funds remaining after payment of the Receiver’s final approved payment must be remitted

immediately to the Commission or its designated representative.

D.       Any party or the Receiver may request that the Court extend the Receiver’s term for good

cause.




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                                     XI.     COOPERATION

         IT IS FURTHER ORDERED that Defendants must fully cooperate with representatives

of the Commission in this case and in any investigation related to or associated with the

transactions or the occurrences that are the subject of the Complaint. Defendants must provide

truthful and complete information, evidence, and testimony. The Individual Defendant must

appear and the Corporate Defendant must cause the Corporate Defendant’s officers, employees,

representatives, or agents to appear for interviews, discovery, hearings, trials, and any other

proceedings that a Commission representative may reasonably request upon 5 days written

notice, or other reasonable notice, at such places and times as a Commission representative may

designate, without the service of a subpoena.

                          XII.     ORDER ACKNOWLEDGMENTS

         IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of this

Order:

A.       Each Defendant, within 7 days of entry of this Order, must submit to the Commission an

acknowledgment of receipt of this Order sworn under penalty of perjury.

B.       For 5 years after entry of this Order, the Individual Defendant for any business that

such Defendant, individually or collectively with the other Defendant, is the majority owner of or

controls directly or indirectly, and the Corporate Defendant, must deliver a copy of this Order to:

(1) all principals, officers, directors, and LLC managers and members; (2) all employees having

managerial responsibilities for the conduct specified in Sections III.A-C, IV.A-C, and V.A-B,

and all agents and representatives who participate in the conduct specified in Sections III.A-C,

IV.A-C, and V.A-B, and (3) any business entity resulting from any change in structure as set

forth in the Section titled Compliance Reporting. Delivery must occur within 7 days of entry of

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this Order for current personnel. For all others, delivery must occur before they assume their

responsibilities.

C.       From each individual or entity to which a Defendant delivered a copy of this Order, that

Defendant must obtain, within 30 days, a signed and dated acknowledgment of receipt of this

Order.

                            XIII.     COMPLIANCE REPORTING

         IT IS FURTHER ORDERED that Defendants make timely submissions to the

Commission:

A.       One year after entry of this Order, each Defendant must submit a compliance report,

sworn under penalty of perjury:

         1.     Each Defendant must: (a) identify the primary physical, postal, and email address

         and telephone number, as designated points of contact, which representatives of the

         Commission may use to communicate with Defendant; (b) identify all of that Defendant’s

         businesses by all of their names, telephone numbers, and physical, postal, email, and

         Internet addresses; (c) describe the activities of each business, including the goods and

         services offered, the means of advertising, marketing, and sales, and the involvement of

         any other Defendant (which Individual Defendant must describe if they know or should

         know due to their own involvement); (d) describe in detail whether and how that

         Defendant is in compliance with each Section of this Order; and (e) provide a copy of

         each Order Acknowledgment obtained pursuant to this Order, unless previously

         submitted to the Commission.

         2.     Additionally, the Individual Defendant must: (a) identify all telephone numbers

         and all physical, postal, email, and Internet addresses, including all residences; (b)

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        identify all business activities, including any business for which he performs services

        whether as an employee or otherwise and any entity in which he has any ownership

        interest; and (c) describe in detail his involvement in each such business, including title,

        role, responsibilities, participation, authority, control, and any ownership.

B.      For 10 years after entry of this Order, each Defendant must submit a compliance

notice, sworn under penalty of perjury, within 14 days of any change in the following:

        1.      Each Defendant must report any change in: (a) any designated point of contact; or

        (b) the structure of the Corporate Defendant or any entity that Defendant has any

        ownership interest in or controls directly or indirectly that may affect compliance

        obligations arising under this Order, including: creation, merger, sale, or dissolution of

        the entity or any subsidiary, parent, or affiliate that engages in any acts or practices

        subject to this Order.

        2.      Additionally, the Individual Defendant must report any change in: (a) name,

        including aliases or fictitious name, or residence address; or (b) title or role in any

        business activity, including any business for which he performs services whether as an

        employee or otherwise and any entity in which he has any ownership interest, and

        identify the name, physical address, and any Internet address of the business or entity.

C.      Each Defendant must submit to the Commission notice of the filing of any bankruptcy

petition, insolvency proceeding, or similar proceeding by or against such Defendant within 14

days of its filing.

D.      Any submission to the Commission required by this Order to be sworn under penalty of

perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by concluding: “I

declare under penalty of perjury under the laws of the United States of America that the

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foregoing is true and correct. Executed on: _____” and supplying the date, signatory’s full

name, title (if applicable), and signature.

E.     Unless otherwise directed by a Commission representative in writing, all submissions to

the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent by overnight

courier (not the U.S. Postal Service) to: Associate Director for Enforcement, Bureau of

Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,

DC 20580. The subject line must begin: FTC v. Elite IT Partners, Inc., et al.

                                 XIV.         RECORDKEEPING

       IT IS FURTHER ORDERED that Defendants must create certain records for 10 years

after entry of the Order, and retain each such record for 5 years. Specifically, Corporate

Defendant and the Individual Defendant for any business that such Defendant, individually or

collectively with any other Defendants, is a majority owner or controls directly or indirectly,

must create and retain the following records:

A.     accounting records showing the revenues from all goods or services sold;

B.     personnel records showing, for each person providing services, whether as an employee

or otherwise, that person’s: name, addresses, telephone numbers, job title or position, dates of

service, and (if applicable) the reason for termination;

C.     records of all consumer complaints and refund requests, whether received directly or

indirectly, such as through a third party, and any response;

D.     all records necessary to demonstrate full compliance with each provision of this Order,

including all submissions to the Commission; and

E.     a copy of each unique advertisement or other marketing material.




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                           XV.      COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’ compliance

with this Order, including the financial representations upon which part of the judgment was

suspended and any failure to transfer any assets as required by this Order:

A.     Within 14 days of receipt of a written request from a representative of the Commission,

each Defendant must: submit additional compliance reports or other requested information,

which must be sworn under penalty of perjury; appear for depositions; and produce documents

for inspection and copying. The Commission is also authorized to obtain discovery, without

further leave of court, using any of the procedures prescribed by Federal Rules of Civil

Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45, and 69.

B.      For matters concerning this Order, the Commission is authorized to communicate

directly with each Defendant. Defendant must permit representatives of the Commission to

interview any employee or other person affiliated with any Defendant who has agreed to such an

interview. The person interviewed may have counsel present.

C.     The Commission may use all other lawful means, including posing, through its

representatives as consumers, suppliers, or other individuals or entities, to Defendants or any

individual or entity affiliated with Defendants, without the necessity of identification or prior

notice. Nothing in this Order limits the Commission’s lawful use of compulsory process,

pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

D.     Upon written request from a representative of the Commission, any consumer reporting

agency must furnish consumer reports concerning Individual Defendant, pursuant to Section

604(1) of the Fair Credit Reporting Act, 15 U.S.C. § 1681b(a)(1).




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                       XVI.      RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for

purposes of construction, modification, and enforcement of this Order.

       SO ORDERED this 9th day of December 2019.

                                            BY THE COURT:


                                            ________________________________________
                                            ROBERT J. SHELBY
                                            United States Chief District Judge




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                     Attachment A
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§ 310.1 Scope of regulations in this part., 16 C.F.R. § 310.1




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                    16 C.F.R. § 310.1

                                        § 310.1 Scope of regulations in this part.

                                             Effective: September 27, 2010
                                                         Currentness




This part implements the Telemarketing and Consumer Fraud and Abuse Prevention Act, 15 U.S.C. 6101–6108, as amended.



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (50)



Current through Feb. 14, 2019; 84 FR 4250
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                                                                                                             Attachment A
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§ 310.2 Definitions., 16 C.F.R. § 310.2




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                       16 C.F.R. § 310.2

                                                     § 310.2 Definitions.

                                                 Effective: February 12, 2016
                                                            Currentness




(a) Acquirer means a business organization, financial institution, or an agent of a business organization or financial institution
that has authority from an organization that operates or licenses a credit card system to authorize merchants to accept,
transmit, or process payment by credit card through the credit card system for money, goods or services, or anything else of
value.



(b) Attorney General means the chief legal officer of a state.



(c) Billing information means any data that enables any person to access a customer’s or donor’s account, such as a credit
card, checking, savings, share or similar account, utility bill, mortgage loan account, or debit card.



(d) Caller identification service means a service that allows a telephone subscriber to have the telephone number, and, where
available, name of the calling party transmitted contemporaneously with the telephone call, and displayed on a device in or
connected to the subscriber’s telephone.



(e) Cardholder means a person to whom a credit card is issued or who is authorized to use a credit card on behalf of or in
addition to the person to whom the credit card is issued.



(f) Cash-to-cash money transfer means the electronic (as defined in section 106(2) of the Electronic Signatures in Global and
National Commerce Act (15 U.S.C. 7006(2)) transfer of the value of cash received from one person to another person in a
different location that is sent by a money transfer provider and received in the form of cash. For purposes of this definition,
money transfer provider means any person or financial institution that provides cash-to-cash money transfers for a person in
the normal course of its business, whether or not the person holds an account with such person or financial institution. The
term cash-to-cash money transfer includes a remittance transfer, as defined in section 919(g)(2) of the Electronic Fund
Transfer Act (“EFTA”), 15 U.S.C. 1693a, that is a cash-to-cash transaction; however it does not include any transaction that
is:

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                                                                                                          Attachment A
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§ 310.2 Definitions., 16 C.F.R. § 310.2




     (1) An electronic fund transfer as defined in section 903 of the EFTA;



     (2) Covered by Regulation E, 12 CFR 1005.20, pertaining to gift cards; or


     (3) Subject to the Truth in Lending Act, 15 U.S.C. 1601 et seq.



(g) Cash reload mechanism is a device, authorization code, personal identification number, or other security measure that
makes it possible for a person to convert cash into an electronic (as defined in section 106(2) of the Electronic Signatures in
Global and National Commerce Act (15 U.S.C. 7006(2)) form that can be used to add funds to a general-use prepaid card, as
defined in Regulation E, 12 CFR 1005.2, or an account with a payment intermediary. For purposes of this definition, a cash
reload mechanism is not itself a general-use prepaid debit card or a swipe reload process or similar method in which funds are
added directly onto a person’s own general-use prepaid card or account with a payment intermediary.



(h) Charitable contribution means any donation or gift of money or any other thing of value.



(i) Commission means the Federal Trade Commission.



(j) Credit means the right granted by a creditor to a debtor to defer payment of debt or to incur debt and defer its payment.



(k) Credit card means any card, plate, coupon book, or other credit device existing for the purpose of obtaining money,
property, labor, or services on credit.



(l) Credit card sales draft means any record or evidence of a credit card transaction.



(m) Credit card system means any method or procedure used to process credit card transactions involving credit cards issued
or licensed by the operator of that system.



(n) Customer means any person who is or may be required to pay for goods or services offered through telemarketing.



(o) Debt relief service means any program or service represented, directly or by implication, to renegotiate, settle, or in any
way alter the terms of payment or other terms of the debt between a person and one or more unsecured creditors or debt
collectors, including, but not limited to, a reduction in the balance, interest rate, or fees owed by a person to an unsecured

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§ 310.2 Definitions., 16 C.F.R. § 310.2



creditor or debt collector.



(p) Donor means any person solicited to make a charitable contribution.



(q) Established business relationship means a relationship between a seller and a consumer based on:



     (1) the consumer’s purchase, rental, or lease of the seller’s goods or services or a financial transaction between the
     consumer and seller, within the eighteen (18) months immediately preceding the date of a telemarketing call; or



     (2) the consumer’s inquiry or application regarding a product or service offered by the seller, within the three (3) months
     immediately preceding the date of a telemarketing call.



(r) Free-to-pay conversion means, in an offer or agreement to sell or provide any goods or services, a provision under which a
customer receives a product or service for free for an initial period and will incur an obligation to pay for the product or
service if he or she does not take affirmative action to cancel before the end of that period.



(s) Investment opportunity means anything, tangible or intangible, that is offered, offered for sale, sold, or traded based
wholly or in part on representations, either express or implied, about past, present, or future income, profit, or appreciation.



(t) Material means likely to affect a person’s choice of, or conduct regarding, goods or services or a charitable contribution.



(u) Merchant means a person who is authorized under a written contract with an acquirer to honor or accept credit cards, or to
transmit or process for payment credit card payments, for the purchase of goods or services or a charitable contribution.



(v) Merchant agreement means a written contract between a merchant and an acquirer to honor or accept credit cards, or to
transmit or process for payment credit card payments, for the purchase of goods or services or a charitable contribution.



(w) Negative option feature means, in an offer or agreement to sell or provide any goods or services, a provision under which
the customer’s silence or failure to take an affirmative action to reject goods or services or to cancel the agreement is
interpreted by the seller as acceptance of the offer.



(x) Outbound telephone call means a telephone call initiated by a telemarketer to induce the purchase of goods or services or
to solicit a charitable contribution.


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§ 310.2 Definitions., 16 C.F.R. § 310.2




(y) Person means any individual, group, unincorporated association, limited or general partnership, corporation, or other
business entity.



(z) Preacquired account information means any information that enables a seller or telemarketer to cause a charge to be
placed against a customer’s or donor’s account without obtaining the account number directly from the customer or donor
during the telemarketing transaction pursuant to which the account will be charged.



(aa) Prize means anything offered, or purportedly offered, and given, or purportedly given, to a person by chance. For
purposes of this definition, chance exists if a person is guaranteed to receive an item and, at the time of the offer or purported
offer, the telemarketer does not identify the specific item that the person will receive.



(bb) Prize promotion means:



     (1) A sweepstakes or other game of chance; or



     (2) An oral or written express or implied representation that a person has won, has been selected to receive, or may be
     eligible to receive a prize or purported prize.



(cc) Remotely created payment order means any payment instruction or order drawn on a person’s account that is created by
the payee or the payee’s agent and deposited into or cleared through the check clearing system. The term includes, without
limitation, a “remotely created check,” as defined in Regulation CC, Availability of Funds and Collection of Checks, 12 CFR
229.2(fff), but does not include a payment order cleared through an Automated Clearinghouse (ACH) Network or subject to
the Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR part 1026.



(dd) Seller means any person who, in connection with a telemarketing transaction, provides, offers to provide, or arranges for
others to provide goods or services to the customer in exchange for consideration.



(ee) State means any state of the United States, the District of Columbia, Puerto Rico, the Northern Mariana Islands, and any
territory or possession of the United States.



(ff) Telemarketer means any person who, in connection with telemarketing, initiates or receives telephone calls to or from a
customer or donor.



(gg) Telemarketing means a plan, program, or campaign which is conducted to induce the purchase of goods or services or a

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§ 310.2 Definitions., 16 C.F.R. § 310.2



charitable contribution, by use of one or more telephones and which involves more than one interstate telephone call. The
term does not include the solicitation of sales through the mailing of a catalog which: contains a written description or
illustration of the goods or services offered for sale; includes the business address of the seller; includes multiple pages of
written material or illustrations; and has been issued not less frequently than once a year, when the person making the
solicitation does not solicit customers by telephone but only receives calls initiated by customers in response to the catalog
and during those calls takes orders only without further solicitation. For purposes of the previous sentence, the term “further
solicitation” does not include providing the customer with information about, or attempting to sell, any other item included in
the same catalog which prompted the customer’s call or in a substantially similar catalog.



(hh) Upselling means soliciting the purchase of goods or services following an initial transaction during a single telephone
call. The upsell is a separate telemarketing transaction, not a continuation of the initial transaction. An “external upsell” is a
solicitation made by or on behalf of a seller different from the seller in the initial transaction, regardless of whether the initial
transaction and the subsequent solicitation are made by the same telemarketer. An “internal upsell” is a solicitation made by
or on behalf of the same seller as in the initial transaction, regardless of whether the initial transaction and subsequent
solicitation are made by the same telemarketer.



Credits

[80 FR 77558, Dec. 14, 2015]



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (36)



Current through Feb. 14, 2019; 84 FR 4250
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§ 310.3 Deceptive telemarketing acts or practices., 16 C.F.R. § 310.3




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                       16 C.F.R. § 310.3

                                     § 310.3 Deceptive telemarketing acts or practices.

                                                 Effective: February 12, 2016
                                                            Currentness




(a) Prohibited deceptive telemarketing acts or practices. It is a deceptive telemarketing act or practice and a violation of this
Rule for any seller or telemarketer to engage in the following conduct:



     (1) Before a customer consents to pay659 for goods or services offered, failing to disclose truthfully, in a clear and
     conspicuous manner, the following material information:


     (i) The total costs to purchase, receive, or use, and the quantity of, any goods or services that are the subject of the sales
     offer;660



     (ii) All material restrictions, limitations, or conditions to purchase, receive, or use the goods or services that are the
     subject of the sales offer;



     (iii) If the seller has a policy of not making refunds, cancellations, exchanges, or repurchases, a statement informing the
     customer that this is the seller’s policy; or, if the seller or telemarketer makes a representation about a refund,
     cancellation, exchange, or repurchase policy, a statement of all material terms and conditions of such policy;



     (iv) In any prize promotion, the odds of being able to receive the prize, and, if the odds are not calculable in advance, the
     factors used in calculating the odds; that no purchase or payment is required to win a prize or to participate in a prize
     promotion and that any purchase or payment will not increase the person’s chances of winning; and the
     no-purchase/no-payment method of participating in the prize promotion with either instructions on how to participate or
     an address or local or toll-free telephone number to which customers may write or call for information on how to
     participate;



     (v) All material costs or conditions to receive or redeem a prize that is the subject of the prize promotion;

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§ 310.3 Deceptive telemarketing acts or practices., 16 C.F.R. § 310.3




    (vi) In the sale of any goods or services represented to protect, insure, or otherwise limit a customer’s liability in the
    event of unauthorized use of the customer’s credit card, the limits on a cardholder’s liability for unauthorized use of a
    credit card pursuant to 15 U.S.C. 1643;



    (vii) If the offer includes a negative option feature, all material terms and conditions of the negative option feature,
    including, but not limited to, the fact that the customer’s account will be charged unless the customer takes an
    affirmative action to avoid the charge(s), the date(s) the charge(s) will be submitted for payment, and the specific steps
    the customer must take to avoid the charge(s); and



    (viii) In the sale of any debt relief service:



         (A) the amount of time necessary to achieve the represented results, and to the extent that the service may include a
         settlement offer to any of the customer’s creditors or debt collectors, the time by which the debt relief service
         provider will make a bona fide settlement offer to each of them;



         (B) to the extent that the service may include a settlement offer to any of the customer’s creditors or debt collectors,
         the amount of money or the percentage of each outstanding debt that the customer must accumulate before the debt
         relief service provider will make a bona fide settlement offer to each of them;



         (C) to the extent that any aspect of the debt relief service relies upon or results in the customer’s failure to make
         timely payments to creditors or debt collectors, that the use of the debt relief service will likely adversely affect the
         customer’s creditworthiness, may result in the customer being subject to collections or sued by creditors or debt
         collectors, and may increase the amount of money the customer owes due to the accrual of fees and interest; and



         (D) to the extent that the debt relief service requests or requires the customer to place funds in an account at an
         insured financial institution, that the customer owns the funds held in the account, the customer may withdraw from
         the debt relief service at any time without penalty, and, if the customer withdraws, the customer must receive all
         funds in the account, other than funds earned by the debt relief service in compliance with § 310.4(a)(5)(i)(A)
         through (C).



    (2) Misrepresenting, directly or by implication, in the sale of goods or services any of the following material
    information:



    (i) The total costs to purchase, receive, or use, and the quantity of, any goods or services that are the subject of a sales
    offer;



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    (ii) Any material restriction, limitation, or condition to purchase, receive, or use goods or services that are the subject of
    a sales offer;



    (iii) Any material aspect of the performance, efficacy, nature, or central characteristics of goods or services that are the
    subject of a sales offer;



    (iv) Any material aspect of the nature or terms of the seller’s refund, cancellation, exchange, or repurchase policies;



    (v) Any material aspect of a prize promotion including, but not limited to, the odds of being able to receive a prize, the
    nature or value of a prize, or that a purchase or payment is required to win a prize or to participate in a prize promotion;



    (vi) Any material aspect of an investment opportunity including, but not limited to, risk, liquidity, earnings potential, or
    profitability;



    (vii) A seller’s or telemarketer’s affiliation with, or endorsement or sponsorship by, any person or government entity;



    (viii) That any customer needs offered goods or services to provide protections a customer already has pursuant to 15
    U.S.C. 1643;



    (ix) Any material aspect of a negative option feature including, but not limited to, the fact that the customer’s account
    will be charged unless the customer takes an affirmative action to avoid the charge(s), the date(s) the charge(s) will be
    submitted for payment, and the specific steps the customer must take to avoid the charge(s); or



    (x) Any material aspect of any debt relief service, including, but not limited to, the amount of money or the percentage
    of the debt amount that a customer may save by using such service; the amount of time necessary to achieve the
    represented results; the amount of money or the percentage of each outstanding debt that the customer must accumulate
    before the provider of the debt relief service will initiate attempts with the customer’s creditors or debt collectors or
    make a bona fide offer to negotiate, settle, or modify the terms of the customer’s debt; the effect of the service on a
    customer’s creditworthiness; the effect of the service on collection efforts of the customer’s creditors or debt collectors;
    the percentage or number of customers who attain the represented results; and whether a debt relief service is offered or
    provided by a non-profit entity.



    (3) Causing billing information to be submitted for payment, or collecting or attempting to collect payment for goods or
    services or a charitable contribution, directly or indirectly, without the customer’s or donor’s express verifiable
    authorization, except when the method of payment used is a credit card subject to protections of the Truth in Lending
    Act and Regulation Z,661 or a debit card subject to the protections of the Electronic Fund Transfer Act and Regulation
    E.662 Such authorization shall be deemed verifiable if any of the following means is employed:

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§ 310.3 Deceptive telemarketing acts or practices., 16 C.F.R. § 310.3




    (i) Express written authorization by the customer or donor, which includes the customer’s or donor’s signature;663



    (ii) Express oral authorization which is audio-recorded and made available upon request to the customer or donor, and
    the customer’s or donor’s bank or other billing entity, and which evidences clearly both the customer’s or donor’s
    authorization of payment for the goods or services or charitable contribution that are the subject of the telemarketing
    transaction and the customer’s or donor’s receipt of all of the following information:



         (A) An accurate description, clearly and conspicuously stated, of the goods or services or charitable contribution
         for which payment authorization is sought;



         (B) The number of debits, charges, or payments (if more than one);



         (C) The date(s) the debit(s), charge(s), or payment(s) will be submitted for payment;



         (D) The amount(s) of the debit(s), charge(s), or payment(s);



         (E) The customer’s or donor’s name;



         (F) The customer’s or donor’s billing information, identified with sufficient specificity such that the customer or
         donor understands what account will be used to collect payment for the goods or services or charitable contribution
         that are the subject of the telemarketing transaction;



         (G) A telephone number for customer or donor inquiry that is answered during normal business hours; and



         (H) The date of the customer’s or donor’s oral authorization; or



    (iii) Written confirmation of the transaction, identified in a clear and conspicuous manner as such on the outside of the
    envelope, sent to the customer or donor via first class mail prior to the submission for payment of the customer’s or
    donor’s billing information, and that includes all of the information contained in §§ 310.3(a)(3)(ii)(A)-(G) and a clear
    and conspicuous statement of the procedures by which the customer or donor can obtain a refund from the seller or
    telemarketer or charitable organization in the event the confirmation is inaccurate; provided, however, that this means of
    authorization shall not be deemed verifiable in instances in which goods or services are offered in a transaction
    involving a free-to-pay conversion and preacquired account information.



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§ 310.3 Deceptive telemarketing acts or practices., 16 C.F.R. § 310.3



     (4) Making a false or misleading statement to induce any person to pay for goods or services or to induce a charitable
     contribution.



(b) Assisting and facilitating. It is a deceptive telemarketing act or practice and a violation of this Rule for a person to provide
substantial assistance or support to any seller or telemarketer when that person knows or consciously avoids knowing that the
seller or telemarketer is engaged in any act or practice that violates §§ 310.3(a), (c) or (d), or § 310.4 of this Rule.



(c) Credit card laundering. Except as expressly permitted by the applicable credit card system, it is a deceptive telemarketing
act or practice and a violation of this Rule for:



     (1) A merchant to present to or deposit into, or cause another to present to or deposit into, the credit card system for
     payment, a credit card sales draft generated by a telemarketing transaction that is not the result of a telemarketing credit
     card transaction between the cardholder and the merchant;



     (2) Any person to employ, solicit, or otherwise cause a merchant, or an employee, representative, or agent of the
     merchant, to present to or deposit into the credit card system for payment, a credit card sales draft generated by a
     telemarketing transaction that is not the result of a telemarketing credit card transaction between the cardholder and the
     merchant; or



     (3) Any person to obtain access to the credit card system through the use of a business relationship or an affiliation with
     a merchant, when such access is not authorized by the merchant agreement or the applicable credit card system.



(d) Prohibited deceptive acts or practices in the solicitation of charitable contributions. It is a fraudulent charitable
solicitation, a deceptive telemarketing act or practice, and a violation of this Rule for any telemarketer soliciting charitable
contributions to misrepresent, directly or by implication, any of the following material information:



     (1) The nature, purpose, or mission of any entity on behalf of which a charitable contribution is being requested;



     (2) That any charitable contribution is tax deductible in whole or in part;



     (3) The purpose for which any charitable contribution will be used;



     (4) The percentage or amount of any charitable contribution that will go to a charitable organization or to any particular
     charitable program;



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§ 310.3 Deceptive telemarketing acts or practices., 16 C.F.R. § 310.3



      (5) Any material aspect of a prize promotion including, but not limited to: the odds of being able to receive a prize; the
      nature or value of a prize; or that a charitable contribution is required to win a prize or to participate in a prize
      promotion; or



      (6) A charitable organization’s or telemarketer’s affiliation with, or endorsement or sponsorship by, any person or
      government entity.



Credits

[80 FR 77558, Dec. 14, 2015]



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (105)



Current through Feb. 14, 2019; 84 FR 4250

Footnotes
659
        When a seller or telemarketer uses, or directs a customer to use, a courier to transport payment, the seller or telemarketer must
        make the disclosures required by § 310.3(a)(1) before sending a courier to pick up payment or authorization for payment, or
        directing a customer to have a courier pick up payment or authorization for payment. In the case of debt relief services, the seller or
        telemarketer must make the disclosures required by § 310.3(a)(1) before the consumer enrolls in an offered program.

660
        For offers of consumer credit products subject to the Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR 226,
        compliance with the disclosure requirements under the Truth in Lending Act and Regulation Z shall constitute compliance with §
        310.3(a)(1)(i) of this Rule.

661
        Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR part 226.

662
        Electronic Fund Transfer Act, 15 U.S.C. 1693 et seq., and Regulation E, 12 CFR part 205.

663
        For purposes of this Rule, the term “signature” shall include an electronic or digital form of signature, to the extent that such form
        of signature is recognized as a valid signature under applicable federal law or state contract law.



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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4




   KeyCite Yellow Flag - Negative Treatment
Unconstitutional or PreemptedNegative Treatment Reconsidered by Mainstream Marketing Services, Inc. v. F.T.C., 10th Cir.(Colo.), Feb. 17, 2004
  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                                16 C.F.R. § 310.4

                                            § 310.4 Abusive telemarketing acts or practices.

                                                           Effective: June 13, 2016
                                                                      Currentness




(a) Abusive conduct generally. It is an abusive telemarketing act or practice and a violation of this Rule for any seller or
telemarketer to engage in the following conduct:



      (1) Threats, intimidation, or the use of profane or obscene language;



      (2) Requesting or receiving payment of any fee or consideration for goods or services represented to remove derogatory
      information from, or improve, a person’s credit history, credit record, or credit rating until:



      (i) The time frame in which the seller has represented all of the goods or services will be provided to that person has
      expired; and



      (ii) The seller has provided the person with documentation in the form of a consumer report from a consumer reporting
      agency demonstrating that the promised results have been achieved, such report having been issued more than six
      months after the results were achieved. Nothing in this Rule should be construed to affect the requirement in the Fair
      Credit Reporting Act, 15 U.S.C. 1681, that a consumer report may only be obtained for a specified permissible purpose;



      (3) Requesting or receiving payment of any fee or consideration from a person for goods or services represented to
      recover or otherwise assist in the return of money or any other item of value paid for by, or promised to, that person in a
      previous transaction, until seven (7) business days after such money or other item is delivered to that person. This
      provision shall not apply to goods or services provided to a person by a licensed attorney;



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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4



    (4) Requesting or receiving payment of any fee or consideration in advance of obtaining a loan or other extension of
    credit when the seller or telemarketer has guaranteed or represented a high likelihood of success in obtaining or
    arranging a loan or other extension of credit for a person;




    (5) (i) Requesting or receiving payment of any fee or consideration for any debt relief service until and unless:



         (A) The seller or telemarketer has renegotiated, settled, reduced, or otherwise altered the terms of at least one debt
         pursuant to a settlement agreement, debt management plan, or other such valid contractual agreement executed by
         the customer;



         (B) The customer has made at least one payment pursuant to that settlement agreement, debt management plan, or
         other valid contractual agreement between the customer and the creditor or debt collector; and



         (C) To the extent that debts enrolled in a service are renegotiated, settled, reduced, or otherwise altered
         individually, the fee or consideration either:



              (1) Bears the same proportional relationship to the total fee for renegotiating, settling, reducing, or altering the
              terms of the entire debt balance as the individual debt amount bears to the entire debt amount. The individual
              debt amount and the entire debt amount are those owed at the time the debt was enrolled in the service; or



              (2) Is a percentage of the amount saved as a result of the renegotiation, settlement, reduction, or alteration. The
              percentage charged cannot change from one individual debt to another. The amount saved is the difference
              between the amount owed at the time the debt was enrolled in the service and the amount actually paid to
              satisfy the debt.



    (ii) Nothing in § 310.4(a)(5)(i) prohibits requesting or requiring the customer to place funds in an account to be used for
    the debt relief provider’s fees and for payments to creditors or debt collectors in connection with the renegotiation,
    settlement, reduction, or other alteration of the terms of payment or other terms of a debt, provided that:



         (A) The funds are held in an account at an insured financial institution;



         (B) The customer owns the funds held in the account and is paid accrued interest on the account, if any;



         (C) The entity administering the account is not owned or controlled by, or in any way affiliated with, the debt relief
         service;

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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4




         (D) The entity administering the account does not give or accept any money or other compensation in exchange for
         referrals of business involving the debt relief service; and



         (E) The customer may withdraw from the debt relief service at any time without penalty, and must receive all funds
         in the account, other than funds earned by the debt relief service in compliance with § 310.4(a)(5)(i)(A) through
         (C), within seven (7) business days of the customer’s request.



    (6) Disclosing or receiving, for consideration, unencrypted consumer account numbers for use in telemarketing;
    provided, however, that this paragraph shall not apply to the disclosure or receipt of a customer’s or donor’s billing
    information to process a payment for goods or services or a charitable contribution pursuant to a transaction;



    (7) Causing billing information to be submitted for payment, directly or indirectly, without the express informed consent
    of the customer or donor. In any telemarketing transaction, the seller or telemarketer must obtain the express informed
    consent of the customer or donor to be charged for the goods or services or charitable contribution and to be charged
    using the identified account. In any telemarketing transaction involving preacquired account information, the
    requirements in paragraphs (a)(7)(i) through (ii) of this section must be met to evidence express informed consent.



    (i) In any telemarketing transaction involving preacquired account information and a free-to-pay conversion feature, the
    seller or telemarketer must:



         (A) Obtain from the customer, at a minimum, the last four (4) digits of the account number to be charged;



         (B) Obtain from the customer his or her express agreement to be charged for the goods or services and to be
         charged using the account number pursuant to paragraph (a)(7)(i)(A) of this section; and,



         (C) Make and maintain an audio recording of the entire telemarketing transaction.



    (ii) In any other telemarketing transaction involving preacquired account information not described in paragraph
    (a)(7)(i) of this section, the seller or telemarketer must:



         (A) At a minimum, identify the account to be charged with sufficient specificity for the customer or donor to
         understand what account will be charged; and




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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4



          (B) Obtain from the customer or donor his or her express agreement to be charged for the goods or services and to
          be charged using the account number identified pursuant to paragraph (a)(7)(ii)(A) of this section;



     (8) Failing to transmit or cause to be transmitted the telephone number, and, when made available by the telemarketer’s
     carrier, the name of the telemarketer, to any caller identification service in use by a recipient of a telemarketing call;
     provided that it shall not be a violation to substitute (for the name and phone number used in, or billed for, making the
     call) the name of the seller or charitable organization on behalf of which a telemarketing call is placed, and the seller’s
     or charitable organization’s customer or donor service telephone number, which is answered during regular business
     hours;



     (9) Creating or causing to be created, directly or indirectly, a remotely created payment order as payment for goods or
     services offered or sold through telemarketing or as a charitable contribution solicited or sought through telemarketing;
     or



     (10) Accepting from a customer or donor, directly or indirectly, a cash-to-cash money transfer or cash reload mechanism
     as payment for goods or services offered or sold through telemarketing or as a charitable contribution solicited or sought
     through telemarketing.



(b) Pattern of calls.



     (1) It is an abusive telemarketing act or practice and a violation of this Rule for a telemarketer to engage in, or for a
     seller to cause a telemarketer to engage in, the following conduct:



     (i) Causing any telephone to ring, or engaging any person in telephone conversation, repeatedly or continuously with
     intent to annoy, abuse, or harass any person at the called number;



     (ii) Denying or interfering in any way, directly or indirectly, with a person’s right to be placed on any registry of names
     and/or telephone numbers of persons who do not wish to receive outbound telephone calls established to comply with
     paragraph (b)(1)(iii)(A) of this section, including, but not limited to, harassing any person who makes such a request;
     hanging up on that person; failing to honor the request; requiring the person to listen to a sales pitch before accepting the
     request; assessing a charge or fee for honoring the request; requiring a person to call a different number to submit the
     request; and requiring the person to identify the seller making the call or on whose behalf the call is made;



     (iii) Initiating any outbound telephone call to a person when:



          (A) That person previously has stated that he or she does not wish to receive an outbound telephone call made by or
          on behalf of the seller whose goods or services are being offered or made on behalf of the charitable organization
          for which a charitable contribution is being solicited; or
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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4




         (B) That person’s telephone number is on the “do-not-call” registry, maintained by the Commission, of persons
         who do not wish to receive outbound telephone calls to induce the purchase of goods or services unless the seller or
         telemarketer:



              (1) Can demonstrate that the seller has obtained the express agreement, in writing, of such person to place
              calls to that person. Such written agreement shall clearly evidence such person’s authorization that calls made
              by or on behalf of a specific party may be placed to that person, and shall include the telephone number to
              which the calls may be placed and the signature664 of that person; or



              (2) Can demonstrate that the seller has an established business relationship with such person, and that person
              has not stated that he or she does not wish to receive outbound telephone calls under paragraph (b)(1)(iii)(A)
              of this section; or



    (iv) Abandoning any outbound telephone call. An outbound telephone call is “abandoned” under this section if a person
    answers it and the telemarketer does not connect the call to a sales representative within two (2) seconds of the person’s
    completed greeting.



    (v) Initiating any outbound telephone call that delivers a prerecorded message, other than a prerecorded message
    permitted for compliance with the call abandonment safe harbor in § 310.4(b)(4)(iii), unless:



         (A) In any such call to induce the purchase of any good or service, the seller has obtained from the recipient of the
         call an express agreement, in writing, that:



              (i) The seller obtained only after a clear and conspicuous disclosure that the purpose of the agreement is to
              authorize the seller to place prerecorded calls to such person;



              (ii) The seller obtained without requiring, directly or indirectly, that the agreement be executed as a condition
              of purchasing any good or service;



              (iii) Evidences the willingness of the recipient of the call to receive calls that deliver prerecorded messages by
              or on behalf of a specific seller; and



              (iv) Includes such person’s telephone number and signature;665 and



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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4



         (B) In any such call to induce the purchase of any good or service, or to induce a charitable contribution from a
         member of, or previous donor to, a non-profit charitable organization on whose behalf the call is made, the seller or
         telemarketer:



              (i) Allows the telephone to ring for at least fifteen (15) seconds or four (4) rings before disconnecting an
              unanswered call; and



              (ii) Within two (2) seconds after the completed greeting of the person called, plays a prerecorded message that
              promptly provides the disclosures required by § 310.4(d) or (e), followed immediately by a disclosure of one
              or both of the following:



              (A) In the case of a call that could be answered in person by a consumer, that the person called can use an
              automated interactive voice and/or keypress-activated opt-out mechanism to assert a Do Not Call request
              pursuant to § 310.4(b)(1)(iii)(A) at any time during the message. The mechanism must:



                   (1) Automatically add the number called to the seller’s entity-specific Do Not Call list;



                   (2) Once invoked, immediately disconnect the call; and



                   (3) Be available for use at any time during the message; and



              (B) In the case of a call that could be answered by an answering machine or voicemail service, that the person
              called can use a toll-free telephone number to assert a Do Not Call request pursuant to § 310.4(b)(1)(iii)(A).
              The number provided must connect directly to an automated interactive voice or keypress-activated opt-out
              mechanism that:



                   (1) Automatically adds the number called to the seller’s entity-specific Do Not Call list;



                   (2) Immediately thereafter disconnects the call; and



                   (3) Is accessible at any time throughout the duration of the telemarketing campaign; and



              (iii) Complies with all other requirements of this part and other applicable federal and state laws.


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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4




         (C) Any call that complies with all applicable requirements of this paragraph (v) shall not be deemed to violate §
         310.4(b)(1)(iv) of this part.



         (D) This paragraph (v) shall not apply to any outbound telephone call that delivers a prerecorded healthcare
         message made by, or on behalf of, a covered entity or its business associate, as those terms are defined in the
         HIPAA Privacy Rule, 45 CFR 160.103.



    (2) It is an abusive telemarketing act or practice and a violation of this Rule for any person to sell, rent, lease, purchase,
    or use any list established to comply with § 310.4(b)(1)(iii)(A), or maintained by the Commission pursuant to §
    310.4(b)(1)(iii)(B), for any purpose except compliance with the provisions of this Rule or otherwise to prevent telephone
    calls to telephone numbers on such lists.



    (3) A seller or telemarketer will not be liable for violating § 310.4(b)(1)(ii) and (iii) if it can demonstrate that, as part of
    the seller’s or telemarketer’s routine business practice:



    (i) It has established and implemented written procedures to comply with § 310.4(b)(1)(ii) and (iii);



    (ii) It has trained its personnel, and any entity assisting in its compliance, in the procedures established pursuant to §
    310.4(b)(3)(i);



    (iii) The seller, or a telemarketer or another person acting on behalf of the seller or charitable organization, has
    maintained and recorded a list of telephone numbers the seller or charitable organization may not contact, in compliance
    with § 310.4(b)(1)(iii)(A);



    (iv) The seller or a telemarketer uses a process to prevent telemarketing to any telephone number on any list established
    pursuant to § 310.4(b)(3)(iii) or 310.4(b)(1)(iii)(B), employing a version of the “do-not-call” registry obtained from the
    Commission no more than thirty-one (31) days prior to the date any call is made, and maintains records documenting
    this process;



    (v) The seller or a telemarketer or another person acting on behalf of the seller or charitable organization, monitors and
    enforces compliance with the procedures established pursuant to § 310.4(b)(3)(i); and



    (vi) Any subsequent call otherwise violating paragraph (b)(1)(ii) or (iii) of this section is the result of error and not of
    failure to obtain any information necessary to comply with a request pursuant to paragraph (b)(1)(iii)(A) of this section
    not to receive further calls by or on behalf of a seller or charitable organization.


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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4




     (4) A seller or telemarketer will not be liable for violating § 310.4(b)(1)(iv) if:



     (i) The seller or telemarketer employs technology that ensures abandonment of no more than three (3) percent of all calls
     answered by a person, measured over the duration of a single calling campaign, if less than 30 days, or separately over
     each successive 30–day period or portion thereof that the campaign continues.



     (ii) The seller or telemarketer, for each telemarketing call placed, allows the telephone to ring for at least fifteen (15)
     seconds or four (4) rings before disconnecting an unanswered call;



     (iii) Whenever a sales representative is not available to speak with the person answering the call within two (2) seconds
     after the person’s completed greeting, the seller or telemarketer promptly plays a recorded message that states the name
     and telephone number of the seller on whose behalf the call was placed666 ; and



     (iv) The seller or telemarketer, in accordance with § 310.5(b)-(d), retains records establishing compliance with §
     310.4(b)(4)(i)-(iii).



(c) Calling time restrictions. Without the prior consent of a person, it is an abusive telemarketing act or practice and a
violation of this Rule for a telemarketer to engage in outbound telephone calls to a person’s residence at any time other than
between 8:00 a.m. and 9:00 p.m. local time at the called person’s location.



(d) Required oral disclosures in the sale of goods or services. It is an abusive telemarketing act or practice and a violation of
this Rule for a telemarketer in an outbound telephone call or internal or external upsell to induce the purchase of goods or
services to fail to disclose truthfully, promptly, and in a clear and conspicuous manner to the person receiving the call, the
following information:



     (1) The identity of the seller;



     (2) That the purpose of the call is to sell goods or services;



     (3) The nature of the goods or services; and



     (4) That no purchase or payment is necessary to be able to win a prize or participate in a prize promotion if a prize
     promotion is offered and that any purchase or payment will not increase the person’s chances of winning. This
     disclosure must be made before or in conjunction with the description of the prize to the person called. If requested by

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§ 310.4 Abusive telemarketing acts or practices., 16 C.F.R. § 310.4



      that person, the telemarketer must disclose the no-purchase/no-payment entry method for the prize promotion; provided,
      however, that, in any internal upsell for the sale of goods or services, the seller or telemarketer must provide the
      disclosures listed in this section only to the extent that the information in the upsell differs from the disclosures provided
      in the initial telemarketing transaction.



(e) Required oral disclosures in charitable solicitations. It is an abusive telemarketing act or practice and a violation of this
Rule for a telemarketer, in an outbound telephone call to induce a charitable contribution, to fail to disclose truthfully,
promptly, and in a clear and conspicuous manner to the person receiving the call, the following information:



      (1) The identity of the charitable organization on behalf of which the request is being made; and



      (2) That the purpose of the call is to solicit a charitable contribution.



Credits

[76 FR 58716, Sept. 22, 2011; 80 FR 77559, Dec. 14, 2015]



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (107)



Current through Feb. 14, 2019; 84 FR 4250

Footnotes
664
        For purposes of this Rule, the term “signature” shall include an electronic or digital form of signature, to the extent that such form
        of signature is recognized as a valid signature under applicable federal law or state contract law.


665
        For purposes of this Rule, the term “signature” shall include an electronic or digital form of signature, to the extent that such form
        of signature is recognized as a valid signature under applicable federal law or state contract law.


666
        This provision does not affect any seller’s or telemarketer’s obligation to comply with relevant state and federal laws, including but
        not limited to the TCPA, 47 U.S.C. 227, and 47 CFR part 64.1200.




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§ 310.5 Recordkeeping requirements., 16 C.F.R. § 310.5




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                       16 C.F.R. § 310.5

                                           § 310.5 Recordkeeping requirements.

                                               Effective: September 27, 2010
                                                           Currentness




(a) Any seller or telemarketer shall keep, for a period of 24 months from the date the record is produced, the following
records relating to its telemarketing activities:



     (1) All substantially different advertising, brochures, telemarketing scripts, and promotional materials;



     (2) The name and last known address of each prize recipient and the prize awarded for prizes that are represented,
     directly or by implication, to have a value of $25.00 or more;


     (3) The name and last known address of each customer, the goods or services purchased, the date such goods or services
     were shipped or provided, and the amount paid by the customer for the goods or services;667



     (4) The name, any fictitious name used, the last known home address and telephone number, and the job title(s) for all
     current and former employees directly involved in telephone sales or solicitations; provided, however, that if the seller
     or telemarketer permits fictitious names to be used by employees, each fictitious name must be traceable to only one
     specific employee; and



     (5) All verifiable authorizations or records of express informed consent or express agreement required to be provided or
     received under this Rule.



(b) A seller or telemarketer may keep the records required by § 310.5(a) in any form, and in the same manner, format, or
place as they keep such records in the ordinary course of business. Failure to keep all records required by § 310.5(a) shall be
a violation of this Rule.



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§ 310.5 Recordkeeping requirements., 16 C.F.R. § 310.5



(c) The seller and the telemarketer calling on behalf of the seller may, by written agreement, allocate responsibility between
themselves for the recordkeeping required by this Section. When a seller and telemarketer have entered into such an
agreement, the terms of that agreement shall govern, and the seller or telemarketer, as the case may be, need not keep records
that duplicate those of the other. If the agreement is unclear as to who must maintain any required record(s), or if no such
agreement exists, the seller shall be responsible for complying with §§ 310.5(a)(1)-(3) and (5); the telemarketer shall be
responsible for complying with § 310.5(a)(4).



(d) In the event of any dissolution or termination of the seller’s or telemarketer’s business, the principal of that seller or
telemarketer shall maintain all records as required under this section. In the event of any sale, assignment, or other change in
ownership of the seller’s or telemarketer’s business, the successor business shall maintain all records required under this
section.



AUTHORITY: 15 U.S.C. 6101–6108.


Current through Feb. 14, 2019; 84 FR 4250

Footnotes
667
        For offers of consumer credit products subject to the Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR 226,
        compliance with the recordkeeping requirements under the Truth in Lending Act, and Regulation Z, shall constitute compliance
        with § 310.5(a)(3) of this Rule.




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§ 310.6 Exemptions., 16 C.F.R. § 310.6




   KeyCite Yellow Flag - Negative Treatment
Unconstitutional or PreemptedNegative Treatment Reconsidered by Mainstream Marketing Services, Inc. v. F.T.C., 10th Cir.(Colo.), Feb. 17, 2004
  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                                16 C.F.R. § 310.6

                                                              § 310.6 Exemptions.

                                                           Effective: June 13, 2016
                                                                      Currentness




(a) Solicitations to induce charitable contributions via outbound telephone calls are not covered by § 310.4(b)(1)(iii)(B) of
this Rule.



(b) The following acts or practices are exempt from this Rule:



      (1) The sale of pay-per-call services subject to the Commission’s Rule entitled “Trade Regulation Rule Pursuant to the
      Telephone Disclosure and Dispute Resolution Act of 1992,” 16 CFR part 308, provided, however, that this exemption
      does not apply to the requirements of §§ 310.4(a)(1), (a)(7), (b), and (c);



      (2) The sale of franchises subject to the Commission’s Rule entitled “Disclosure Requirements and Prohibitions
      Concerning Franchising,” (“Franchise Rule”) 16 CFR part 436, and the sale of business opportunities subject to the
      Commission’s Rule entitled “Disclosure Requirements and Prohibitions Concerning Business Opportunities,”
      (“Business Opportunity Rule”) 16 CFR part 437, provided, however, that this exemption does not apply to the
      requirements of §§ 310.4(a)(1), (a)(7), (b), and (c);



      (3) Telephone calls in which the sale of goods or services or charitable solicitation is not completed, and payment or
      authorization of payment is not required, until after a face-to-face sales or donation presentation by the seller or
      charitable organization, provided, however, that this exemption does not apply to the requirements of §§ 310.4(a)(1),
      (a)(7), (b), and (c);



      (4) Telephone calls initiated by a customer or donor that are not the result of any solicitation by a seller, charitable
      organization, or telemarketer, provided, however, that this exemption does not apply to any instances of upselling

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§ 310.6 Exemptions., 16 C.F.R. § 310.6



    included in such telephone calls;



    (5) Telephone calls initiated by a customer or donor in response to an advertisement through any medium, other than
    direct mail solicitation, provided, however, that this exemption does not apply to:



    (i) Calls initiated by a customer or donor in response to an advertisement relating to investment opportunities, debt relief
    services, business opportunities other than business arrangements covered by the Franchise Rule or Business
    Opportunity Rule, or advertisements involving offers for goods or services described in § 310.3(a)(1)(vi) or §
    310.4(a)(2) through (4);



    (ii) The requirements of § 310.4(a)(9) or (10); or



    (iii) Any instances of upselling included in such telephone calls;



    (6) Telephone calls initiated by a customer or donor in response to a direct mail solicitation, including solicitations via
    the U.S. Postal Service, facsimile transmission, electronic mail, and other similar methods of delivery in which a
    solicitation is directed to specific address(es) or person(s), that clearly, conspicuously, and truthfully discloses all
    material information listed in § 310.3(a)(1), for any goods or services offered in the direct mail solicitation, and that
    contains no material misrepresentation regarding any item contained in § 310.3(d) for any requested charitable
    contribution; provided, however, that this exemption does not apply to:



    (i) Calls initiated by a customer in response to a direct mail solicitation relating to prize promotions, investment
    opportunities, debt relief services, business opportunities other than business arrangements covered by the Franchise
    Rule or Business Opportunity Rule, or goods or services described in § 310.3(a)(1)(vi) or § 310.4(a)(2) through (4);



    (ii) The requirements of § 310.4(a)(9) or (10); or



    (iii) Any instances of upselling included in such telephone calls; and



    (7) Telephone calls between a telemarketer and any business to induce the purchase of goods or services or a charitable
    contribution by the business, except calls to induce the retail sale of nondurable office or cleaning supplies; provided,
    however, that §§ 310.4(b)(1)(iii)(B) and 310.5 shall not apply to sellers or telemarketers of nondurable office or cleaning
    supplies.



Credits

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§ 310.6 Exemptions., 16 C.F.R. § 310.6



[80 FR 77559, Dec. 14, 2015]



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (11)



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§ 310.7 Actions by states and private persons., 16 C.F.R. § 310.7




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                       16 C.F.R. § 310.7

                                       § 310.7 Actions by states and private persons.

                                                Effective: September 27, 2010
                                                            Currentness




(a) Any attorney general or other officer of a state authorized by the state to bring an action under the Telemarketing and
Consumer Fraud and Abuse Prevention Act, and any private person who brings an action under that Act, shall serve written
notice of its action on the Commission, if feasible, prior to its initiating an action under this Rule. The notice shall be sent to
the Office of the Director, Bureau of Consumer Protection, Federal Trade Commission, Washington, DC 20580, and shall
include a copy of the state’s or private person’s complaint and any other pleadings to be filed with the court. If prior notice is
not feasible, the state or private person shall serve the Commission with the required notice immediately upon instituting its
action.



(b) Nothing contained in this Section shall prohibit any attorney general or other authorized state official from proceeding in
state court on the basis of an alleged violation of any civil or criminal statute of such state.



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (12)



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§ 310.8 Fee for access to the National Do Not Call Registry., 16 C.F.R. § 310.8




   KeyCite Yellow Flag - Negative Treatment
Unconstitutional or PreemptedNegative Treatment Reconsidered by Mainstream Marketing Services, Inc. v. F.T.C., 10th Cir.(Colo.), Feb. 17, 2004
  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                                16 C.F.R. § 310.8

                                    § 310.8 Fee for access to the National Do Not Call Registry.

                                                          Effective: October 1, 2018
                                                                      Currentness




(a) It is a violation of this Rule for any seller to initiate, or cause any telemarketer to initiate, an outbound telephone call to
any person whose telephone number is within a given area code unless such seller, either directly or through another person,
first has paid the annual fee, required by § 310.8(c), for access to telephone numbers within that area code that are included in
the National Do Not Call Registry maintained by the Commission under § 310.4(b)(1)(iii)(B); provided, however, that such
payment is not necessary if the seller initiates, or causes a telemarketer to initiate, calls solely to persons pursuant to §§
310.4(b)(1)(iii)(B)(i) or (ii), and the seller does not access the National Do Not Call Registry for any other purpose.



(b) It is a violation of this Rule for any telemarketer, on behalf of any seller, to initiate an outbound telephone call to any
person whose telephone number is within a given area code unless that seller, either directly or through another person, first
has paid the annual fee, required by § 310.8(c), for access to the telephone numbers within that area code that are included in
the National Do Not Call Registry; provided, however, that such payment is not necessary if the seller initiates, or causes a
telemarketer to initiate, calls solely to persons pursuant to §§ 310.4(b)(1)(iii)(B)( i ) or ( ii ), and the seller does not access the
National Do Not Call Registry for any other purpose.



(c) The annual fee, which must be paid by any person prior to obtaining access to the National Do Not Call Registry, is $63
for each area code of data accessed, up to a maximum of $17,406; provided, however, that there shall be no charge to any
person for accessing the first five area codes of data, and provided further, that there shall be no charge to any person
engaging in or causing others to engage in outbound telephone calls to consumers and who is accessing area codes of data in
the National Do Not Call Registry if the person is permitted to access, but is not required to access, the National Do Not Call
Registry under this Rule, 47 CFR 64.1200, or any other Federal regulation or law. No person may participate in any
arrangement to share the cost of accessing the National Do Not Call Registry, including any arrangement with any
telemarketer or service provider to divide the costs to access the registry among various clients of that telemarketer or service
provider.



(d) Each person who pays, either directly or through another person, the annual fee set forth in paragraph (c) of this section,
each person excepted under paragraph (c) from paying the annual fee, and each person excepted from paying an annual fee

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§ 310.8 Fee for access to the National Do Not Call Registry., 16 C.F.R. § 310.8



under § 310.4(b)(1)(iii)(B), will be provided a unique account number that will allow that person to access the registry data
for the selected area codes at any time for the twelve month period beginning on the first day of the month in which the
person paid the fee (“the annual period”). To obtain access to additional area codes of data during the first six months of the
annual period, each person required to pay the fee under paragraph (c) of this section must first pay $63 for each additional
area code of data not initially selected. To obtain access to additional area codes of data during the second six months of the
annual period, each person required to pay the fee under paragraph (c) of this section must first pay $32 for each additional
area code of data not initially selected. The payment of the additional fee will permit the person to access the additional area
codes of data for the remainder of the annual period.



(e) Access to the National Do Not Call Registry is limited to telemarketers, sellers, others engaged in or causing others to
engage in telephone calls to consumers, service providers acting on behalf of such persons, and any government agency that
has law enforcement authority. Prior to accessing the National Do Not Call Registry, a person must provide the identifying
information required by the operator of the registry to collect the fee, and must certify, under penalty of law, that the person is
accessing the registry solely to comply with the provisions of this Rule or to otherwise prevent telephone calls to telephone
numbers on the registry. If the person is accessing the registry on behalf of sellers, that person also must identify each of the
sellers on whose behalf it is accessing the registry, must provide each seller’s unique account number for access to the
national registry, and must certify, under penalty of law, that the sellers will be using the information gathered from the
registry solely to comply with the provisions of this Rule or otherwise to prevent telephone calls to telephone numbers on the
registry.



Credits

[75 FR 51934, Aug. 24, 2010; 76 FR 53637, Aug. 29, 2011; 77 FR 51697, Aug. 27, 2012; 78 FR 53643, Aug. 30, 2013; 79
FR 51478, Aug. 29, 2014; 80 FR 77560, Dec. 14, 2015; 81 FR 59845, Aug. 31, 2016; 82 FR 39534, Aug. 21, 2017; 83 FR
46640, Sept. 14, 2018]



AUTHORITY: 15 U.S.C. 6101–6108.


Notes of Decisions (4)



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                                                                                                               Attachment A
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§ 310.9 Severability., 16 C.F.R. § 310.9




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter C. Regulations Under Specific Acts of Congress
            Part 310. Telemarketing Sales Rule (Refs & Annos)


                                                  16 C.F.R. § 310.9

                                                § 310.9 Severability.

                                            Effective: September 27, 2010
                                                       Currentness




The provisions of this Rule are separate and severable from one another. If any provision is stayed or determined to be
invalid, it is the Commission’s intention that the remaining provisions shall continue in effect.



AUTHORITY: 15 U.S.C. 6101–6108.


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                                                                                                           Attachment A
